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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Case No. 18-cv-80176-BLOOM/Reinhart

  IRA KLEIMAN, et al.,

         Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  ______________________/

  ORDER ON JOINT MOTION TO RE-SET TRIAL DATE, RE-SET CALENDAR CALL,
   EXTEND THE DUE DATE FOR DEMONSTRATIVE AND SUMMARY EXHIBITS,
                  AND REQUEST STATUS CONFERENCE

         THIS CAUSE is before the Court upon the Joint Motion to Re-Set Trial Date, Re-Set

  Calendar Call, Extend the Due Date for Demonstrative and Summary Exhibits, and Request Status

  Conference, ECF No. [649] (“Motion”). The Court has carefully reviewed the Motion, the record

  in this case, and is otherwise fully advised.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

                 1. The Motion, ECF No. [649], is GRANTED.

                 2. The Court’s Order Scheduling Trial, ECF No. [626], is AMENDED as follows:

                       THIS CAUSE is specially set for a Jury Trial beginning on November 1,

                       2021, at 9:00 a.m. Calendar call will be held at 1:45 p.m. on Tuesday,

                       September 14, 2021. Unless instructed otherwise by subsequent order, the trial

                       and all other proceedings in this case shall be conducted in Courtroom 10-2 at

                       the Wilkie D. Ferguson, Jr. United States Courthouse, 400 North Miami

                       Avenue, Miami, FL 33128.
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               3. The Court’s Order on the Motion for Extension of Time to Extend the

                      Demonstrative/Summary Exhibit Deadline, ECF No. [648], is AMENDED to

                      extend the due date for Demonstrative/Summary Exhibits to August 31, 2021.

               4. The Court will hold a Status Conference on May 11, 2021 at 1:45 p.m. to

                      discuss the status of this case. See ECF No. [626].

               5. This case shall remain ADMINISTRATIVELY CLOSED.

         DONE AND ORDERED in Chambers at Miami, Florida, on April 27, 2021.




                                                           _________________________________
                                                           BETH BLOOM
                                                           UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record




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